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Pending Bankruptcy Cases of Affiliates    Petition Date       Location
Tattooed Chef Inc.                              7/2/23 Central District of California
Ittella International LLC                       7/2/23 Central District of California
Itella's Chef LLC                               7/2/23 Central District of California
Myjojo, Inc.                                    7/2/23 Central District of California
BCI Aquisition Inc.                             7/2/23 Central District of California
 Karsten Tortilla Factory, LLC                  7/2/23 Central District of California
TTCF-NM Holdings, Inc.                          7/2/23 Central District of California
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